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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    January 29, 2021


BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

        The Government respectfully writes to supplement a statement the undersigned made
during the January 7, 2021 conference. During the conference, the Court asked the Government
whether any other witnesses who had been issued trial subpoenas (besides the four Chicago-area
witnesses who ultimately moved to quash, Dkt. 145), had “said that they’re filing a motion to
quash or that they’re not showing up or something else that would make them unavailable.” Tr.,
Jan. 7, 2021, at 10. In answering in the negative, id., the undersigned forgot that in the spring
and fall of 2020, counsel for two other potential witnesses, both of whom are based in California,
had indicated concern, upon receiving trial subpoenas for earlier trial dates, about traveling for
trial during the pandemic.

        While counsel for those potential witnesses did not move to quash those subpoenas or the
ones that were outstanding at the time of the January 7 conference, and the trial has now been
adjourned in any event, the Government wanted to bring those concerns to the Court’s attention,
particularly in light of the Court’s question on this subject. The Government will remain in
contact with counsel for those witnesses, as well as the four Chicago-area witnesses who moved
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to quash, well in advance of the scheduled June 28, 2021 trial date and promptly alert the Court
if it expects additional motion practice.

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             United States Attorney

                                         by: /s/ Paul M. Monteleoni
                                             Paul M. Monteleoni
                                             Hagan C. Scotten
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cc: Counsel of Record (via ECF)
